
Allen, P.
concurred with Judge Moncure. As to the heirs and next of kin, it was proper to direct an issue upon slight proof in analogy to the proceedings in the case of a. will. But in fact the proof was strong.
The decree was as follows':
The court is of opinion, that 'the testimony offered to impeach the deed of -the 21st day of April 18-31, was insufficient for the purpose; and that the said deed should have been treated by the court below as a good and bona fide conveyance, investing the grantee William C. Smith, with a full and absolute title in and to the land, slaves and other property in said deed mentioned.
And the court is further of opinion, that the decree of the 17th day of April 1840, directing certain issues therein mentioned, to be made up and tried, is erroneous ; and that the chancellor, instead thereof, ought to have rendered a decree sustaining the said deed; . and that after collecting in the fund arising from the rents and hires, and ordering the same to be paid to W. C. Smith, he should have proceeded to dismiss the bills in each case; the bill of the paupers without costs, and the bill of L. Thurman &amp; als. at the costs of said last mentioned plaintiffs.
And the court is also of opinion, that the Circuit court erred in its decree of the 22nd of June 1852; and that instead of rendering such decree, the said court ought still, and notwithstanding the verdict on the issues, to have observed the course above indicated as proper for the chancellor when he made his decree *770of the 17th April 1840. The court is also of opinion that the order of the 7th of October 1843, is erroneous. Said decrees in each case reversed; those in behalf of the paupers, without costs. Those in the second case, with costs to the representative of W. C. Smith, as the party substantially prevailing.
And the causes are remanded, with instructions to ^ie Circuit court to take proper steps for calling in the fund arising from the rents of the land and the hires of the negroes; and to make a decree, directing the payment of so much thereof as has accrued from the hires, to W. C. Smith’s representative, after first deducting therefrom the expenses, if any, incurred in the maintenance of any of said paupers pending this suit; and apportioning so much thereof as has accrued from the rents, among the representatives and the heirs or devisees of said Smith, according to their respective rights. And then to dismiss both bills; the bill of the paupers without costs, and the bill of Thurman &amp;c. with costs to Smith’s representative.
